   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 1 of 11




                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                          STATESBORO DIVISION


LAWRENCE HUGH              )
McCULLOUGH, JR.,           )
                           )
    Movant,                )
                           )
V.                         )                  Case No. CV611-125
                           )                            CR609-048
UNITED STATES OF AMERICA, )
                           )
    Respondent.            )

                  REPORT AND RECOMMENDATION

      Lawrence Hugh McCullough, Jr. has filed a 28 U.S.C. § 2255

motion. CR609-048, doc. 969.' The government moves to dismiss it.

Doc. 993. The motion should be granted.

1. BACKROUND

      McCullough was indicted on drug and firearm charges. Doc. 1. A

superseding indictment sought forfeiture of his assets. Doc. 477. He

retained John Kendall Gross as counsel, doc. 104, and later pled guilty to

reduced charges pursuant to a plea agreement in which McCullough

    All record citations are to the docket sheet for this criminal case. All pinpoint
citations are to the page number the Court's electronic filing system assigns in the
upper right hand corner of each page.
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 2 of 11




waived his right to appeal and collaterally attack his conviction and

sentence (including the forfeiture of his assets) "011 any ground." Doc.

806 at 9.

      In exchange, the government dismissed some counts. Id. The

district judge accepted the plea. Does. 650, 651 & 895. McCullough

reaped reduced sentencing exposure as part of the deal, and the

government, upon his substantial assistance, filed a 5K1.1 motion for

downward departure. Doe. 888. This resulted in a 192-month sentence.

Doc. 895. McCullough took no appeal.

11. ANALYSIS

     McCullough says Gross provided him with ineffective assistance of

counsel (IAC). In Ground One he faults Gross for failing to object to

purported discrepancies between his plea agreement, the PSI, and the

consent order of forfeiture. Doc. 969 at 4. In Ground Two he claims

Gross coerced him into signing the plea. Id. Ground Three faults Gross

for failing to object to the Court holding him accountable for crack

cocaine. Id. Ground Four cites him for failing to object to the

enhancement in his sentence for a leadership role. Id. at 5. And in




                                    2
    Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 3 of 11




Ground Five movant says Gross was ineffective because he failed to

object to a two-point increase in his criminal history category. Id. at 6.

       In one of his briefs McCullough adds onto Ground One, further

faulting Gross for not objecting to the sentence's inclusion of a forfeiture

count (for McCullough's "2002 Cadillac Escalade") -- this caused the

government, he contends, "to breach the plea agreement by seizing

property not included in the Plea Agreement, nor the Court's Consent

Order. 112 Doc. 1002 at 2; see also doc. 946 at 2. He further insists that

because the government promised to seize only those assets listed in his

plea agreement, it breached the agreement by seizing his Cadillac, so

now his waiver is neutralized per cases like Rankin v. United States,

(5th Cir. 2001), and United States v. Gonzales, 309 F.3d 9882, 886 (5th

Cir. 2002). Doc. 970 at 9-14; doc. 1002 at 2-3.



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  "A defendant may appeal his sentence based on an alleged plea agreement breach
even if the plea agreement contains a sentence appeal waiver." United States v.
Wilson, 445 F. App'x. 203,206 (llth Cir. 2011). As the Wilson panel explained:

    The first step in determining whether the government breached a plea
    agreement is to determine the scope of the government's promises. In so
    doing, we applied an objective standard to determine "whether the
    government's actions were inconsistent with what the defendant reasonably
    understood when he" pleaded guilty.

Id. (quotes, cites, and alterations omitted).


                                                3
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 4 of 11




      Cognizant that he waived both his right to direct appeal and

collateral review, McCullough seeks to escape the double waiver by

arguing that his guilty plea was invalid, hence his ground two allegation

that Gross coerced him into signing the plea agreement. Id. at 4.

Elsewhere he argues that his plea was not knowing and voluntary

because he entered it on the understanding that his attorney would

challenge the leadership role enhancement at the appropriate time. Doc.

970 at 15-18; see also doc. 1002 at 5-6 (later brief).' Finally, he insists he

did not waive his right to seek § 2255 relief "from the manner in which

the sentence was determined." Doc. 970 at 9, 19, 22-23 1 29.

      All of McCullough's claims are without merit. First, his plea

agreement provides that:

   [t]o the maximum extent permitted by federal law, [McCullough]
   voluntarily and expressly waives the right to appeal the conviction
   and sentence and the right to collaterally attack the conviction and
   sentence in any post-conviction proceeding, including a § 2255
   proceeding, on any ground, except that: [he] may file a direct
   appeal of his sentence if it exceeds the statutory maximum; and
   [he] may file a direct appeal of his sentence if, by variance or

   The Court rejects this argument out of hand because it is just plain nonsense --
every movant can claim he did: not "understand" that his attorney would in some way
fail to raise a particular objection or claim, and that this rendered his earlier plea
"involuntary." By that logic, anyone can fail to "understand" why their life's
expectations have not been met would be entitled to undo the otherwise binding
agreements that they make. McCullough plies pure wordplay here, nothing more.


                                          4
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 5 of 11




   upward departure, the sentence is higher than the advisory
   sentencing guideline range as found by the sentencing court.

Doc. 806 at 9 (emphasis added).'

       Second, it is undisputed that his sentence did not exceed the

statutory maximum or is "higher than the advisory sentencing guideline

range as found by the sentencing court." McCullough is thus stuck with

   Similar waivers have been upheld on appeal. See, e.g., United States v. Orozco-
Picazo, 391 F. App'x 761, 769 (11th Cir. 2010) (defendant's appeal waiver in pleading
guilty to conspiracy to distribute cocaine and possession of firearm in furtherance of
drug trafficking crime precluded appellate review of his claim that district court
erred in imposing consecutive sentences; district court questioned defendant
concerning appeal waiver during plea colloquy, and it did not impose sentence that
was higher than that called for by advisory guidelines); Angarita v. United States,
2010 WL 2872737 at * 2 (S.D. Fla. Jul. 20, 2010) (upholding substantively similar
waiver). To that end,

   [a]n appeal waiver or collateral-attack waiver is valid if a defendant enters into
   it knowingly and voluntarily. See Williams v. United States, 396 F.3d 1340,
   1341 (11th Cir. 2005); United States v. Bushert, 997 F.2d 1343, 1350-55 (11th
   Cir. 1993). In this circuit, such waivers have been enforced consistently
   according to their terms. See United States v. Bascomb, 451 F.3d 1292, 1294
   (11th Cir. 2006) (collecting cases). To enforce such a waiver, the government
   must demonstrate either that (1) the district court specifically questioned the
   defendant about the waiver during the change of plea colloquy, or (2) the
   record clearly shows that the defendant otherwise understood the full
   significance of the waiver.

 Warren v. United States, 2011 WL 5593183 at * 5 (M.D. Ala. Oct. 26, 2011). Some
courts apply a "miscarriage of justice" exception. United States v. Ruiz-Gonzalez, 427
F. App'x. 22, 25 (1st Cir. 2011) ("However, even if the waiver is knowing and
voluntary, we retain discretion not to enforce the waiver if it would result in a
 'miscarriage of justice.") (quotes and cite omitted); 9 FED. PROC., L. ED. § 22:969
 (Jun. 2012) (footnotes omitted) ("An illegal sentence may constitute a miscarriage of
justice, so as to support not enforcing the defendant's waiver in a plea agreement of
the right to appeal."); ANN., Validity and effect of criminal defendants express waiver
of right to appeal as part of negotiated plea agreement, 89 ALR 3D 864 § 3.4 (collecting
cases). McCullough does not raise this exception.

                                           5
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 6 of 11




his bargain. The Court rejects his "manner in which the sentence was

determined" argument because it proceeds on an obviously false premise

-- that his waiver had to have expressly detailed all the ways in which

sentencing-hearing flaws could arise. Because it didn't, his logic goes,

McCullough is now free to cite any one them (e.g, the improper

"manner" in which his sentence was determined) to try and neutralize

the waiver and thus reap a full collateral review of his claims.

     The flaw in that argument is that it ignores the fact that "on any

ground" means exactly that: on any ground. See, e.g., United States v.

Whitney, 2012 WL 1972809 at * 1 (7th Cir. Jun. 4, 2012) (upholding "on

any ground" appellate waiver); United States v. Johnson, 2012 WL

1634256 at *1 (4th Cir. May 10, 2012) (upholding waiver of right to

appeal "the conviction and any sentence within the statutory maximum"

on "any ground whatsoever."). It is true that other cases have included

the "manner-in-which-the-sentence-was-determined" language in

appellate/collateral waivers upheld on appeal. See e.g., United States v.

Sakellarion, 649 F.3d 634, 638 (7th Cir. 2011). But that does not mean

that the instant agreement's failure to provide examples of "on any

ground" (e.g., "the manner in which the sentence was determined")
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 7 of 11




derails its waiver component. To conclude otherwise is to elevate

semantics over reality. And the government correctly notes that

McCullough's cases are easily distinguishable. Doc. 993 at 9-11.

     Note that there do exist ways to escape a waiver like McCullough's.

They include a material breach by the government, or if the defendant

pled guilty involuntarily. Sakellarion, 649 F.3d at 639; Ann., 89 ALR 3d

864 § 3.3 (collecting cases). But McCullough has shown neither. The

guilty-plea transcript shows that the district judge fully explained, and

McCullough fully understood, what he was giving up here in exchange

for the reduced sentence exposure. Doc. 978 at 41-43. Example:

  Q: Let me dwell on it just a minute. 1 am not bound by the
  guidelines. But if 1 sentence you within the guidelines, then you
  may not appeal to another court. If 1 go beyond the guidelines as
  calculated and approved by the Court, you may appeal. That
  doesn't mean that you will win the appeal, but at least you can ask
  another court to review it. Or, if the government appeals, you may
  appeal also. Or if 1 were to do something bizarre and sentence you
  in excess of what the law requires if 1 accept your plea, then, of
  course, you may appeal.

  But in none of these circumstances may you attack collaterally, or
  sue your lawyer, or say the lawyer was insufficient, or that
  somebody denied you some right in the investigation and
  prosecution of the case.

Id. at 42-43 (emphasis added). McCullough indicated he understood. Id.

at 43. And the remainder; of his sworn Fed. R. Civ. P. 11 responses show

                                     7
   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 8 of 11




that he freely and voluntarily traded the double-waiver for reduced

sentence exposure. 111 those responses he affirmed that he had read and

reviewed the indictment, the plea agreement, the waiver, the

consequences of the waiver, the rights he was giving up, the sentencing-

range risk, and the PSI. Doc. 978 at 14-48. He also affirmed that no one

had forced or pressured him and that he pled guilty freely and

voluntarily. Id. at 19, 27, 44, 58-51, 52.

      It follows that grounds one, three, four and five of McCullough's §

2255 motion -- where he basically claims his lawyer's sentencing phase

performance was insufficient -- are barred by his collateral waiver.

Allowing a movant to attack his sentence after executing a knowing and

voluntary appeal and collateral-appeal waiver "would permit a defendant

to circumvent the terms of the.. . waiver simply by recasting a challenge

to his sentence as a claim of ineffective assistance, thus rendering the


   Such "solemn declarations in open court carry a strong presumption of verity" and
"constitute a formidable barrier in any subsequent collateral proceedings."
Blackledge v. Allison, 431 U.S. 63, 74. The Rule 11 procedure here in fact was careful
and detailed, amply supporting this Court's finding that the collateral attack waiver
is valid and that McCullough's contrary claim here is simply false. See id.; United
States v. Stitzer, 785 F.2d 1506, 1514 n. 4 (11th Cir.1986) ("[I]f the Rule 11 plea
taking procedure is careful and detailed, the defendant will not later be heard to
contend that he swore falsely.") (citing United States v. Barrett, 514 F.2d 1241, 1243
(5th Cir. 1975)); Kazas v. United States, 2012 WL 2191278 at * 3 (S.D. Ga. May 24,
2012).

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   Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 9 of 11




waiver meaningless." Williams, 396 F.3d at 1342; Bellamy u. United

States, 2012 WL 1415469 at * 1 (M.D. Fla. Apr. 24, 2012).

     And ground two -- that Gross "coerced" him into signing his guilty

plea agreement -- is neutralized by McCullough's sworn Rule 11 response

that he in fact was not :coerced. It may be that Gross failed to do

something that he promised to do -- object in some particular way during

the sentencing hearing -- but movant gave up his right to complain about

that when he struck his plea bargain, and here he must keep it.

     Finally, McCullough's government-breach argument (that the

government took more than it promised to take on his forfeiture deal) is

something that he could have raised 011 direct appeal. A § 2255 motion

may not be used as a "surrogate" for the missed direct appeal. Lynn v.

United States, 365 F.3d 1225 5 1232 (11th Cir. 2004); see Stone v. Powell,

428 U.S. 465, 478 n.10 (1976) (28 U.S.C. § 2255 will not be allowed to do

service for an appeal). This claim thus fails 011 these grounds alone.

     It also fails because McCullough has fully litigated this

government-breach issue before. Doc. 934 (moving to "dismiss"

forfeiture claim); doc. 936 (government's response explaining that there

had been 110 breach because the Cadillac had been administratively
  Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 10 of 11




forfeited -- with notice to McCullough -- before the plea agreement); doe.

946 (Court ruling finding no breach), appeal dismissed, doe. 955. It is

thus barred by the law of the case doctrine. Pepper v. United States,

U.S. -, 131 S. Ct. 1229, 1250-51 (2011) ("Law of the case doctrine"

posits that, when a court decides upon a rule of law, that decision should

continue to govern the same issues in subsequent stages in the same

case); United States v. Gonzalez, 462 F. App'x 873, 875 (11th Cir. 2012);

see generally 16A FED. PROc., L. ED. § 41:128 (June 2012).



111. CONCLUSION

     The Court GRANTS McCullough's motion to supplement his §

2255 motion (doe. 983) and to file an excess-page brief. Doc. 971. But the

government's Motion to Dismiss (doe. 993) should be GRANTED and

thus, McCullough's § 2255 motion (doe. 969) should be DENIED. The

Clerk, in turn, should CLOSE CV611-125.

     Applying the Certificate of Appealability (COA) standards set forth

in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9,

2009) (unpublished), the •Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);


                                    10
  Case 6:09-cr-00048-LGW-CLR Document 1041 Filed 07/31/12 Page 11 of 11




see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving

sua sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

        SO REPORTED AND RECOMMENDED this 3/ day of July,

2012.



                                        UNITEIP FATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




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